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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

  TATIANA DELGADO,

         Plaintiff,

  v.                                                       Case No:

  ABC FINANCIAL SERVICES,
  LLC,
                                                           DEMAND FOR JURY TRIAL
        Defendant.
  _____________________________/


        PLAINTIFF’S COMPLAINT WITH INJUNCTIVE RELIEF SOUGHT

         COMES NOW, Plaintiff, TATIANA DELGADO (“Ms. Delgado” or

  “Plaintiff”) by and through the undersigned counsel, and hereby sues and files this

  Complaint and Demand for Jury Trial with Injunctive Relief Sought against Defendant,

  ABC FINANCIAL SERVICES, LLC (“Defendant”), and in support thereof states as

  follows:

                                            Introduction

         1.      This action arises out of Defendant’s violations of the Telephone

  Consumer Protection Act, 47 U.S.C. § 227 et. seq. (“TCPA”), and the Fair Debt

  Collection Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”), in attempting to collect

  an alleged consumer debt by using an automatic telephone dialing system or automated

  voice or prerecorded message to call Ms. Delgado’s cellular telephone after Ms. Delgado

  demanded Defendant stop calling her cellular telephone, and by misrepresenting the legal

  status of such debt as collectible when Defendant knew that such debt had been


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  discharged in Ms. Delgado’s Ch. 7 bankruptcy case, which can all reasonably be

  expected to harass Ms. Delgado.

                                       Jurisdiction and Venue

          2.      This Court has subject matter jurisdiction over the instant case arising

  under the federal question presented in the FDCPA and TCPA pursuant to 28 U.S.C. §

  1331.

          3.      Venue lies in this District pursuant to 28 U.S.C. § 1391 (b) and 15 U.S.C.

  § 1692k (d), as Defendant is a resident of this District where Defendant has the capacity

  to sue and be sued in its common name under applicable law.

                                                 Parties

          4.      Plaintiff, Ms. Delgado, was and is a natural person and, at all times

  material hereto, is an adult, a resident of Clark County, Nevada, and a “consumer” as

  defined by 15 U.S.C. § 1692a (3).

          5.      Ms. Delgado is the “called party” as referenced in the TCPA, 47 U.S.C. §

  227 (b) (1) (A) (iii), for all calls placed to telephone number 702-***-7955 (“Ms.

  Delgado’s Cellular Telephone”).

          6.      At all times material hereto, Defendant was and is a corporation with its

  principle place of business in the state of AR, and its registered agent, Dylan H. Potts,

  located at 425 West Capitol Ave., Ste. 3801, Little Rock, AR 72201.

          7.      Further, at all times material hereto, Defendant is a “Debt Collector” as

  defined by 15 U.S.C. § 1692a (6).




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                                          Statements of Fact

         8.       Ms. Delgado opened a gym membership account with EOS Fitness for her

  personal use (“Account”).

         9.       Sometime thereafter, Ms. Delgado encountered financial difficulties and

  fell behind on her monthly payments towards the Account and incurred an alleged

  outstanding balance owed thereunder (“Debt”).

         10.      On April 2, 2019, Ms. Delgado filed a Chapter 7 Bankruptcy Petition

  (“Petition”) in the U.S. Bankruptcy Court for the District of Nevada, Case No. 19-bk-

  11420-MKN (“Bankruptcy Case”).

         11.      On June 18, 2019, a discharge order was entered in the Bankruptcy Case

  which discharged Ms. Delgado from all debts owed, including the Debt (“Discharge

  Order”). See Exhibit A.

         12.      Under information and belief, EOS Fitness then sold, assigned, or

  transferred the Account to Defendant for debt collection purposes.

         13.      Under information and belief, EOS Fitness informed Defendant that the

  alleged Debt was discharged in the Bankruptcy Case pursuant to the Discharge Order at

  time of selling, assigning, or transferring the Account.

         14.      Despite having actual knowledge that the Debt was discharged in the

  Bankruptcy Case pursuant to the Discharge Order, Defendant continued to directly

  communicate with Ms. Delgado in connection with collection of the alleged Debt.

         15.      Specifically, on or around June 25, 2019, Defendant began placing calls

  directly to Ms. Delgado’s Cellular Telephone in attempts to collect the Debt.



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         16.      Ms. Delgado thereafter spoke with Defendant in October of 2019 and told

  Defendant that the alleged Debt was discharged in the Bankruptcy Case pursuant to the

  Discharge Order and demanded that Defendant stop calling her Cellular Telephone.

         17.      Despite Ms. Delgado’s demand, Defendant continued to place calls

  directly to Ms. Delgado’s Cellular Telephone in attempts to collect the discharged Debt.

         18.      Defendant has called Ms. Delgado’s Cellular Telephone at least ten (10)

  times during the time period from June 18, 2019 to the present date.

         19.      Defendant called Ms. Delgado’s Cellular Telephone from several different

  telephone numbers, including, but not limited to: 800-897-6877.

         20.      All of Defendant’s calls to Ms. Delgado’s Cellular Telephone were placed

  in an attempt to collect the Debt.

         21.      Defendant has harassed Ms. Delgado due to the timing and frequency of

  Defendant’s calls.

         22.      Defendant has harassed Ms. Delgado by violating Ms. Delgado’s right

  under the Discharge Order to no longer be personally liable for the Debt.

               Count 1: Violation of the Telephone Consumer Protection Act

         23.      Ms. Delgado re-alleges paragraphs 1-22 and incorporates the same herein

  by reference.

         24.      The Restrictions on Use of Telephone Equipment provision, 47 U.S.C. §

  227 (b) (1) prohibits any person:

                           (A) to make any call (other than a call made for
                           emergency purposes or made with the prior express
                           consent of the called party) using any automatic
                           telephone dialing system or an artificial prerecorded


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                             voice – (iii) to any telephone number assigned to a
                             paging service, cellular telephone service, . . . or
                             any service for which the called party is charged for
                             the call.

           25.      Ms. Delgado never provided any consent for Defendant to call Ms.

  Delgado’s Cellular Telephone by the use of an automatic telephone dialing system

  (“ATDS”) or artificial voice or prerecorded message.

           26.      This is because Ms. Delgado had no prior business relationship with

  Defendant to provide any prior express consent for Defendant to call Ms. Delgado’s

  Cellular Telephone by the use of an automatic telephone dialing system (“ATDS”) or

  artificial voice or prerecorded message.

           27.      Despite never having Ms. Delgado’s prior express consent to call Ms.

  Delgado’s Cellular Telephone by the use of an ATDS or artificial voice or prerecorded

  message and Ms. Delgado’s demand that Defendant stop calling her Cellular Telephone

  in October of 2019, Defendant called Ms. Delgado’s Cellular Telephone at least ten (10)

  times.

           28.       Defendant did not place any emergency calls to Ms. Delgado’s Cellular

  Telephone.

           29.      Defendant willfully and knowingly placed non-emergency calls to Ms.

  Delgado’s Cellular Telephone.

           30.      Ms. Delgado knew that Defendant called Ms. Delgado’s Cellular

  Telephone using an ATDS because they heard a pause when they answered at least one

  of the first few calls from Defendant on Ms. Delgado’s Cellular Telephone before a live

  representative of Defendant came on the line.


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         31.      Ms. Delgado knew that Defendant called Ms. Delgado’s Cellular

  Telephone using a prerecorded voice because Defendant left Ms. Delgado at least one

  voicemail using a prerecorded voice.

         32.      Defendant used an ATDS when it placed at least one call to Ms. Delgado’s

  Cellular Telephone.

         33.      Under information and belief, Defendant used an ATDS when it placed at

  least ten calls to Ms. Delgado’s Cellular Telephone.

         34.      Under information and belief, Defendant used an ATDS when it placed at

  least twenty calls to Ms. Delgado’s Cellular Telephone.

         35.      Under information and belief, Defendant used an ATDS when it placed all

  calls to Ms. Delgado’s Cellular Telephone.

         36.      At least one call that Defendant placed to Ms. Delgado’s Cellular

  Telephone was made using a telephone dialing system that has the capacity to store

  telephone numbers to be called.

         37.      At least one call that Defendant placed to Ms. Delgado’s Cellular

  Telephone was made using a telephone dialing system that has the capacity to produce

  telephone numbers to be called without human intervention.

         38.      At least one call that Defendant placed to Ms. Delgado’s Cellular

  Telephone was made using a telephone dialing system that uses a random number

  generator.




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          39.      At least one call that Defendant placed to Ms. Delgado’s Cellular

  Telephone was made using a telephone dialing system that uses a sequential number

  generator.

          40.      At least one call that Defendant placed Ms. Delgado’s Cellular Telephone

  was made using a prerecorded voice.

          41.      Defendant has recorded at least one conversation with Ms. Delgado.

          42.      Defendant has recorded more than one conversation with Ms. Delgado.

          43.      Defendant has corporate policies and procedures in place that permit it to

  use an ATDS or artificial voice or prerecorded message to place call individuals to collect

  alleged debts from said individuals, such as Ms. Delgado, for its financial gain.

          44.      Defendant has corporate policies and procedures in place that permit it to

  use an ATDS or artificial voice or prerecorded message, and to place calls to individuals

  using such devices, just as it did to Ms. Delgado’s Cellular Telephone, with no way for

  the called party and recipient of the calls to permit, elect, or invoke the removal of the

  called party and recipient of the calls’ cellular telephone number from Defendant’s call

  list.

          45.      The structure of Defendant’s corporate policies and/or procedures permits

  the continuation of calls to individuals like Ms. Delgado, despite individuals like Ms.

  Delgado revoking any consent that Defendant believes it may have to place such calls.

          46.      Defendant knowingly employs methods and has corporate policies and

  procedures that do not permit the cessation or suppression of calls placed using an ATDS




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  to individual’s cellular telephones, like the calls that it placed Ms. Delgado’s Cellular

  Telephone.

          47.      Defendant has corporate policies to abuse and harass consumers like Ms.

  Delgado.

          48.      Defendant has been sued in federal court where the allegations include:

  calling an individual using an ATDS after the individual asked for the calls to stop.

          49.      Defendant has been sued in federal court where the allegations include:

  calling an individual using an automated or prerecorded voice after the individual asked

  for the calls to stop.

          50.      Defendant’s phone calls harmed Ms. Delgado by trespassing upon and

  interfering with Ms. Delgado’s right to not be directly contacted by the Defendant as she

  was represented by counsel.

          51.      Defendant’s phone calls harmed Ms. Delgado by causing her emotional

  distress.

          52.      Defendant’s phone calls harmed Ms. Delgado by causing her to lose sleep.

          53.      Defendant’s phone calls harmed Ms. Delgado by causing her stress.

          54.      Defendant’s phone calls harmed Ms. Delgado by causing her anxiety.

          55.      All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

  against Defendant as follows:

                a. Awarding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B),

                   which allows for $500 in damages for each such violation;



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               b. Awarding treble damages pursuant to 47 U.S.C. § 227 (b) (3) (C);

               c. Awarding Plaintiff costs;

               d. Ordering an injunction preventing further wrongful contact by the

                  Defendant; and

               e. Any other and further relief as this Court deems just and equitable.


         Count 2: Violation of the Fair Debt Collection Practices Act (“FDCPA”)

         56.      Ms. Delgado re-alleges paragraphs 1-22 and incorporates the same herein

  by reference.

         57.      Ms. Delgado is a “consumer” within the meaning of the FDCPA.

         58.      The subject debt is a “consumer debt” within the meaning of the FDCPA.

         59.      Defendant is a “debt collector” within the meaning of the FDCPA.

         60.      Defendant violated the FDCPA. Defendant’s violations include, but are

  not limited to, the following:

               a. Defendant 15 U.S.C. § 1692e(2)(A) by falsely representing

                  the legal status of the Debt as still personally owed by Ms.

                  Delgado and not discharged pursuant to the Discharge

                  Order in Ms. Delgado’s Bankruptcy Case.

               b. Defendant violated 15 U.S.C. § 1692f(1) by attempting to

                  collect the Debt that Defendant knew was not permitted by

                  law to collect pursuant to the Discharge Order.

         61.      As a result of the above violations of the FDCPA, Ms. Delgado has been

  subjected to illegal collection activities for which she has been damaged.

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           62.       Defendant’s actions have damaged Ms. Delgado by violating her right to

   not be contacted directly because she was represented by an attorney.

           63.       Defendant’s phone calls harmed Ms. Delgado by causing her emotional

   distress.

           64.       Defendant’s phone calls harmed Ms. Delgado by causing her to lose sleep.

           65.       Defendant’s phone calls harmed Ms. Delgado by causing her stress.

           66.       Defendant’s phone calls harmed Ms. Delgado by causing her anxiety.

           67.       It has been necessary for Ms. Delgado to retain the undersigned counsel to

   prosecute the instant action, for which she is obligated to pay a reasonable attorney’s fee.

           68.       All conditions precedent to this action have occurred.

           WHEREFORE, Plaintiff respectfully requests this Court to enter a

   judgment against Defendant as follows:

                     a. Awarding statutory damages as provided by 15 U.S.C. §

                         1692k(a)(2)(A);

                     b. Awarding actual damages;

                     c. Awarding costs and attorneys’ fees; and

                     d. Any other and further relief as this Court deems just and equitable.




                                     DEMAND FOR JURY TRIAL

               Plaintiff, Tatiana Delgado, demand a trial by jury on all issues so triable.



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   Respectfully submitted this November 26, 2019,


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